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CLERK. US DISTRICT CQUAT P SEND

Unjted States District Court
re District of California

| Li
UNITED STATES. AS CALFORNIA | Docket No. CR 02-39(A)-RSWL =
By | DEPUTY} ef.
Social Security yt
Defendant _EARI LESLIE KRUGEL No. 13 8 9
akas: (Last 4 digits)

ALO TO Mee Ow BO OO NGM RES Me) ab oy

MONTH DAY YEAR

In the presence of the attorney for the government, the defendant appeared in person on 09 22 05
COUNSEL | WITH COUNSEL JAY LICHTMAN, APPOINTED

(Name of Counsel)

PLEA | GUILTY, and the court being satisfied that there is a factual basis for the plea. [| NOLO [| NOT
CONTENDERE GUILTY

FINDING | There being a finding/verdict of | X! GUILTY, defendant has been convicted as charged of the offense(s) of:
B

18 USC 241: Conspiracy Against Civil Rights (Civil 1), 18 USC 844(h)(2): Carrying an Explosive During the
Commission of a Federal Felony (Count 2), Class C Felonies

JUDGMENT, The Court asked whether defendant had anything to say why judgment should not be pronounced. Because no
AND PROB/| sufficient cause to the contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as
COMM | charged and convicted and ordered that: Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the
ORDER | Court that the defendant is hereby committed on Counts 1 and 2 of the First Superseding Information to the custody
of the Bureau of Prisons to be imprisoned for a total of 240 MONTHS. This term consists of 120 months on Count

| 1, and 120 months on Count 2, to be served consecutively to each other.

IT IS ORDERED that the defendant shall pay to the United States a special assessment of
5200.00, which is due immediately.

Pursuant to Section 5E1.2(e) of the Guidelines, all fines are waived as it is found
that such sanction would place an undue burden on the defendant’s dependents.

Upon release from imprisonment, the defendant shall be placed on supervised release for
a term of three years. This term consists of three years on each of Counts 1 and 2,
all such terms to run concurrently under the following terms and conditions:

1. The defendant shall comply with the rules and regulations of the Probation
Office and General Order 318;

2. During the period of community supervision, the defendant shall pay the
special assessment in accordance with this judgment's orders pertainin
such payment ;

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3. The defendant will not associate with any current or former members: or
associates of the Jewish Defense League (JDL) or participate in activities
of the JDL or any groups affiliated with the JDL. “f
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4, The defendant shall cooperate in the collection of a DNA sample from the
defendant.

The drug testing condition mandated by statute is suspended based on the Court’s
determination that the defendant poses a low-risk of future substance abuse.

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The defendant has a limited right to appeal within 10 days of today’s date. The Court
recommends housing in the Southern California area. Government’s motion to dismiss the
Indictment and First Superseding Indictment is GRANTED without prejudice.

*

In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of
Probation and Supervised Release within this judgment be imposed. The Court may change the conditions of supervision,
reduce or extend the period of supervision, and at any time during the supervision period or within the maximum period
permitted by law, may issue a warrant and revoke supervision for a violation occurring during the supervision period.

_ September 2%, 00s” Ka all! A p
Date U. S. District idgé RONALD S.W. LEW

It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other
qualified officer.

Shenk. Carter, Clerk

*

Septem ber 22 2005 By KELLY DAVIS

Filed Date Deputy Clerk

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The defendant shall comply with the standard conditions that have been adopted by this court (set forth below).

12.

STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE Ll

While the defendant is on probation or supervised release pursuant to this judgment:

The defendant shall not commit another Federal, state or
local crime;

the defendant shall not leave the judicial district without
the written permission of the court or probation officer;
the defendant shall report to the probation officer as
directed by the court or probation officer and shall
submit a truthful and complete written report within the
first five days of each month;

the defendant shall answer truthfully all inquiries by the
probation officer and follow the instructions of the

. probation officer;

the defendant shall support his or her dependents and
meet other family responsibilities;

the defendant shall work regularly at a lawful occupation
unless excused by the probation officer for schooling,
training, or other acceptable reasons;

. the defendant shall notify the probation officer at least 10

days prior to any change in residence or employment;

. the defendant shall refrain from excessive use of alcoho!

and shall not purchase, possess, use, distribute, or
administer any narcotic or other controlled substance, or
any paraphernalia related to such substances, except as
prescribed by a physician;

the defendant shall not frequent places where controlled
substances are illegally sold, used, distributed or
administered;

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the defendant shall not associate with any persons
engaged in criminal activity, and shall not associate with
any person convicted of a felony unless granted
permission to do so by the probation officer;

the defendant shall permit a probation officer to visit him
or her at any time at home or elsewhere and shall permit
confiscation of any contraband observed in plain view by
the probation officer;

the defendant shall notify the probation officer within 72
hours of being arrested or questioned by a law
enforcement officer;

the defendant shall not enter into any agreement to act as
an informer or a special agent of a law enforcement
agency without the permission of the court;

as directed by the probation officer, the defendant shall
notify third parties of risks that may be occasioned by the
defendant’s crimina] record or personal history or
characteristics, and shall permit the probation officer to
make such notifications and to conform the defendant’s
compliance with such notification requirement;

the defendant shall, upon release from any period of
custody, report to the probation officer within 72 hours;
and, for felony cases only: not possess a firearm,
destructive device, or any other dangerous weapon.

The defendant will also comply with the following special conditions pursuant to General Order 01-05 (set forth below).

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JUDGMENT & PROBATION/COMMITMENT ORDER

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STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS
at
The defendant shall pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the
fine or restitution is paid in full before the fifteenth (15") day after the date of the judgment pursuant to 18 U.S.C. §3612((1).
Payments may be subject to penalties for default and delinquency pursuant to 18 U.S.C. §3612(g). Interest and penalties pertaining
to restitution , however, are not applicable for offenses completed prior to April 24, 1996.

If all or any portion ofa fine or restitution ordered remains unpaid after the termination of supervision, the defendant shall
_pay the balance as directed by the United States Attorney’s Office. 18 U.S.C. §3613.

The defendant shall notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing
address or residence until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. §3612(b)(1)(F).

The defendant shall notify the Court through the Probation Office, and notify the United States Attorney of any material
change in the defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required
by 18 U.S.C. §3664(k). The Court may also accept such notification from the government or the victim, and may, on its own
motion or that of a party or the victim, adjust the manner of payment of a fine or restitution-pursuant to 18 U.S.C. §3664(k). See
also 18 U.S.C. §3572(d)(3) and for probation 18 U.S.C. §3563(a)(7).

"Payments shall be applied in the following order:

1. Special assessments pursuant to 18 U.S.C. §3013;
2. Restitution, in this sequence:
Private victims (individual and corporate),
Providers of compensation to private victims,
The United States as victim;
3. Fine;
4, Community restitution, pursuant to 18 U.S.C. §3663(c); and
5. Other penalties and costs.

SPECIAL CONDITIONS FOR PROBATION AND SUPERVISED RELEASE

As directed by the Probation Officer, the defendant shall provide to the Probation Officer: (1) a signed release authorizing
credit report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate
financial statement, with supporting documentation as to all assets, income and expenses of the defendant. In addition, the
defendant shall not apply for any loan or open any line of credit without prior approval of the Probation Officer.

The defendant shall maintain one personal checking account. All of defendant’s income, “monetary gains,” or other
pecuniary proceeds shall be deposited into this account, which shall be used for payment of all personal expenses. Records of all
other bank accounts, including any business accounts, shall be disclosed to the Probation Officer upon request.

The defendant shall not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500
without approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

These conditions are in addition to any other conditions imposed by this judgment.

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RETURN

[have executed the within Judgment and Commitment as follows:

Defendant delivered on to

Defendant noted on appeal on

Defendant released on

Mandate issued on

Defendant's appeal determined on

Defendant delivered on to

at

the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

United States Marshal

By
Date Deputy Marshal

CERTIFICATE

[hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my
office, and in my legal custody.

Clerk, U.S. District Court

By
Filed Date Deputy Clerk

FOR U.S. PROBATION OFFICE USE ONLY

Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2} extend

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the term of supervision, and/or (3) modify the conditions of supervision. Ww

These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.
Wn

(Signed)
Defendant Date

U.S. Probation Officer/Designated Witness Date

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NOTICE PARTY SERVICE LIST
CaseNo. CROZ- 29(4) -RSWL Case Title U.S.A. v. KEUGEL
/ Title of Document JUDGMENT

Atty Stthnnt Officer

US Attorneys Office - Civil Division -L.A.

BAP (Bankruptcy Appellate Pane!)

US Attorneys Office - Civil Division - S.A.

Beck, Michael J (Clerk, MDL Panel)

US Attorneys Office - Criminal Division -L.A.

BOP (Bureau of Prisons)

US Attomeys Office - Criminal Division -8.A.

CA St Pub Defender (Calif. State PD)

US Bankruptcy Court

CAAG (California Attorney General’s Office -

US Marshal Service - Los Angeles (USMLA)

Keith H. Borjon, L.A. Death Penalty Coordinator)

US Marshal Service - Riverside (USMED)

Case Asgmt Admin (Case Assignment

Administrator) US Marshal Service -Santa Ana (USMSA)

x :
Catterson, Cathy (9* Circuit Court of Appeal) US Probation Office (USPO)

Chief Deputy Admin US Trustee’s Office
Chief Deputy Ops Warden, San Quentin State Prison, CA
Clerk of Court
Death Penalty H/C (Law Clerks) ADD NEW NOTICE PARTY
(if sending by fax, mailing address must also
Dep In Chg E Div be provided)
Dep In Chg So Div Name:
x | Fiscal Section Firm:

Intake Supervisor Address (include suite or floor):

Interpreter Section

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. *E-mail:
PIA Clerk - Riverside (PIAED)
*Fax No.:
PIA Clerk - Santa Ana (PIASA) * For CIVIL cases only

X | PSA - Los Angeles (PSALA)

JUDGE / MAGISTRATE JUDGE (list below):

PSA - Riverside (PSAED)

PSA - Santa Ana (PSASA)

Schnack, Randal] (CJA Supervising Attorney)

Statistics Clerk

Stration, Maria - Federal Public Defender

Initials of Deputy Clerk KD

G-7§ (06/04) NOTICE PARTY SERVICE LIST
